Case 3:21-cv-01963-GPC-DEB Document 1 Filed 11/18/21 PageID.1 Page 1 of 2



 1   John P. Schnurer, Bar No. 185725
     JSchnurer@perkinscoie.com
 2   John D. Esterhay, Bar No. 282330
     JEsterhay@perkinscoie.com
 3   PERKINS COIE LLP
     11452 El Camino Real, Suite 300
 4   San Diego, California 92130-2080
     Telephone: 858.720.5700
 5   Facsimile: 858.720.5799
 6   Attorneys for Plaintiffs
     Monolithic Power Systems, Inc. and
 7   Chengdu Monolithic Power Systems Co.,
     Ltd.
 8
                        UNITED STATES DISTRICT COURT
 9
                     SOUTHERN DISTRICT OF CALIFORNIA
10

11
     MONOLITHIC POWER SYSTEMS,                        '21CV1963 GPC DEB
                                             Case No. ____________________
12   INC., a Delaware corporation; and
     CHENGDU MONOLITHIC POWER                Primary Case No. 6:20-cv-00876-ADA
13   SYSTEMS CO., LTD., a Chinese            (W.D. Tex.)
     Corporation,
14                                           NOTICE OF MOTION AND
               Plaintiffs,                   MOTION TO COMPEL
15                                           COMPLIANCE WITH SUBPOENAS
          v.
16
     XIAOMI USA LLC, a California
17   Limited Liability Company and
     XIAOMI CORPORATION, a foreign
18   Corporation,
19             Defendants.
20

21

22

23

24

25

26

27

28
     NOTICE OF MOTION AND
     MOTION TO COMPEL                                CASE NO. _________________
Case 3:21-cv-01963-GPC-DEB Document 1 Filed 11/18/21 PageID.2 Page 2 of 2



 1         PLEASE TAKE NOTICE THAT on ________________, 2021 at ___
 2   p.m., or as soon as the matter may be heard, in the courtroom of the Honorable
 3   ____________ at the United States District Court for the Southern District of
 4   California, Plaintiffs Monolithic Power Systems, Inc. and Chengdu Monolithic
 5   Power Systems Co., Ltd. (“MPS”) will, and hereby do, move the Court to order
 6   Xiaomi Corporation (“Xiaomi Corp.”) and Xiaomi USA, LLC (“Xiaomi USA”) to
 7   produce documents and appear for testimony in response to MPS’s properly served
 8   subpoenas. The subpoenas were issued from the United States District Court for
 9   the Western District of Texas and relate to an action pending in the Western District
10   of Texas (Case No. 6:20-cv-00876-ADA).
11         This motion is based upon this Notice of Motion, the supporting
12   Memorandum of Points and Authorities, the Declaration of John D. Esterhay, the
13   Proposed Order; all pleadings and papers filed in this action; and such other
14   arguments and evidence as may properly come before the Court.
15         The undersigned certifies that the parties met and conferred telephonically
16   and in writing before this motion was filed. Defendants oppose the relief sought by
17   this motion.
18

19   DATED: November 18, 2021                    PERKINS COIE LLP
20
                                                 By: /s/ John D. Esterhay
21                                                  John P. Schnurer, Bar No. 185725
                                                    JSchnurer@perkinscoie.com
22                                                  John D. Esterhay, Bar No. 282330
                                                    JEsterhay@perkinscoie.com
23
                                                    Attorneys for Plaintiffs
24                                                  Monolithic Power Systems, Inc. and
                                                    Chengdu Monolithic Power Systems
25                                                  Co., Ltd.
26

27

28
     NOTICE OF MOTION AND                    1           CASE NO. _________________
     MOTION TO COMPEL
